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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

In re: NEXIUM (ESOMEPRAZOLE)                          MDL No. 2409
ANTITRUST LITIGATION
                                                      Civil Action No. 1:12-md-02409-WGY

This Document Relates To:

All Actions

    PLAINTIFFS’ MOTION IN LIMINE TO PRECLUDE DEFENDANTS FROM
 INTRODUCING EVIDENCE OF EVENTS OCCURING ON OR AFTER MAY 27, 2014



       Pursuant to the Court’s prior rulings and Federal Rule of Evidence 403, the plaintiffs

respectfully move this Court to preclude the defendants from offering argument or evidence at

trial about facts purportedly occurring since May 27, 2014 as a basis to dispute antitrust liability

in this case. Facts occurring from May 27, 2014 through the present should be off the table for

all parties at trial. Plaintiffs raise this now because bells pealed in opening statements cannot be

un-rung.

       In its summary judgment opinion, this Court recognized that there is evidence that Teva

slowed its efforts to secure regulatory approval once AstraZeneca paid it off. To the extent that

Defendants may intend to argue at trial that, for example, the fact that the FDA has not approved

a generic since May 27, 2014 somehow supersedes the impact of their earlier anticompetitive

acts, that argument lacks foundation. To substantiate such an argument, Defendants would have

to adduce proof that (i) the Ranbaxy and Teva’s current efforts to have the FDA approve their

generic products are uncontaminated by the delayed entry date built into their agreements, and

(ii) the Defendants recent, voluntary, decisions regarding FDA generic entry are unaffected by an




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interest in molding evidence for this case. Defendants have made no effort to create this

necessary record.

         To make things worse, Defendants successfully rebuffed plaintiffs’ efforts to take

discovery about post-May 27, 2014 events to test this foundationless assertion. Plaintiffs asked

Ranbaxy and Teva to produce documents showing a complete picture of the regulatory status of

their ANDAs post May 27, 2014. Both refused to make a fulsome production. Plaintiffs moved

to compel this information from Ranbaxy. The defendants successfully opposed. So plaintiffs

do not know what did happen after May 27, 2014, let alone why. At best, plaintiffs know from

media reports that Ranbaxy and five of its senior executives recently parted ways, including

Venkatachalam Krishnan who had been responsible for getting Ranbaxy’s generic Nexium to

market. This trial by ambush is entirely inconsistent with the Federal Rules of Civil Procedure

and threatens the integrity of the trial set to begin Monday.

         Because such evidence would both lack foundation and be unduly prejudicial, this Court

should exclude at trial argument or evidence about facts occurring from May 27, 2014 through

the present.1

                                        I.       BACKGROUND

A.       Plaintiffs tried to obtain post-May 27, 2014 discovery, but defendants refused to
         comply.
         Plaintiffs propounded three sets of document requests to defendants Ranbaxy and Teva

during the discovery period in this case.2


1
 Plaintiffs do not seek to exclude evidence that was produced or received after May 27, 2014 that refers to facts or
events that occurred before May 27, 2014.
2
 Plaintiffs served on defendants Plaintiffs’ First Request for Production of Documents to All Defendants, dated
November 21, 2012; Plaintiffs’ Second Request for Production of Documents to All Defendants, dated May 1, 2013;
and Plaintiffs’ Third Request for Production of Documents to All Defendants, dated July 12, 2013 (collectively,
“plaintiffs’ RFPs”). Fact discovery closed on July 1, 2013.


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        On May 21, 2014, plaintiffs asked Ranbaxy and Teva to produce additional documents

created after the date of its last production responsive to specific requests that plaintiffs had

propounded during the discovery period. Plaintiffs did not request that Ranbaxy or Teva search

for supplemental documents pertaining to every previous request for production.

        In response, Ranbaxy wholesale objected to the entirety of plaintiffs’ requests for

supplementation and merely identified some types of requested documents which it purports it

does not have. Despite plaintiffs narrowing their requests to only four of plaintiffs’ previous

document requests – documents and communications between Ranbaxy and FDA concerning its

esomeprazole ANDA; documents and communications concerning Ranbaxy’s performance

under an FDA consent decree and import ban; and documents and communications between

Ranbaxy and AstraZeneca concerning Ranbaxy’s performance under their API Supply and

Tolling agreements – Ranbaxy continued to refuse to supplement its production of these

requested documents.

        Teva would only agree to make a self-serving supplemental production of its ANDA file

(just the official correspondence to and from FDA), and would not agree to produce any internal

emails or memos about those efforts or the timeframe in which they would be completed.3 Teva

then later refused to make any supplemental production unless plaintiffs would agree to a

simultaneous production of Nexium purchase data and Teva refused to produce documents

relating to Ranbaxy’s possible relinquishment, waiver, retention or forfeiture of the 180-day

exclusivity for esomeprazole.




3
  Id. Teva made a limited supplemental production from its ANDA file on June 4, 2014, and September 9, 2014,
totaling approximately 6 documents. Plaintiffs additionally sought internal correspondence and correspondence
with FDA or any other entity concerning Teva’s ANDA.

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           On August 19, 2014, plaintiffs moved this Court to compel a limited supplemental

production of documents by Ranbaxy.4 This Court denied the discovery request on September 5,

2014.5

B.         Teva has attempted to backdoor post- May 2014 evidence into this case.
           Notwithstanding defendants Ranbaxy’s and Teva’s utter refusal to produce even a

scintilla of the narrow categories of evidence plaintiffs have requested solely for the post-May

2014 time period, Teva disclosed a new, never previously disclosed expert, Gordon Johnston, on

August 25, 2014. 6 On October 9, 2014, Teva served a supplemental report of Mr. Johnston

which not only references facts from post-May 27, 2014, but also uses that purported evidence to

show what would not have happened in the but-for world. He opines:

                   For example, the fact that Teva does not have even tentative FDA
                   approval as of today [Oct. 9, 2014] even though Teva has had a license
                   from AstraZeneca to enter the market since May 2014 directly contradicts
                   Dr. Blume’s and Mr. Morrison’s opinions that the FDA tends to permit
                   pharmaceutical companies to enter the market as soon as they are licensed
                   to do so.7



                                             II.      ARGUMENT

           It is apparent that defendants may well attempt at trial to backdoor facts occurring on

May 27, 2014 or after, which have been untested by plaintiffs as a result of the defendants’

refusal to produce the necessary discovery, to support a foundationless argument that what has




4
    See ECF No. 971.
5
    See ECF No. 978.
6
 Pursuant to the amended Case Management Order in this case, the deadline for completion of merits expert
discovery was December 4, 2013.
7
    See Supplemental Expert Report of Gordon Johnston dated Oct. 9, 2014 at 2.


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actually happened since May 27, 2014 is predictive of what would have happened in the absence

of the Defendants’ earlier anticompetitive conduct.

A.          Given the record, any argument that events occurring on May 27, 2014 or after
            show what would have happened in the absence of Defendants’ anticompetitive
            scheme lacks foundation.

            Defendants have not produced any evidence to establish a link between post- May 2014

events and what would have occurred after May 27, 2014 in the absence of Defendants’ earlier

anticompetitive conduct.8 Yet, Defendants may try to argue at trial that, for example, the fact

that the FDA has not approved a generic since May 27, 2014 somehow immunizes their earlier

anticompetitive acts.

            The Court has already rejected Teva’s argument that the fact that Teva does not have

FDA approval precludes a finding that it could not have obtained final approval before May 27,

2014.9 In reaching this conclusion, the Court held that a jury could conclude based on Plaintiffs’

evidence that Teva had “deliberately stalled that opportunity as a result of its settlement with

AstraZeneca.”10 As it explained, the “timing and content of the change in tone of Teva’s internal

communications and documents, as well as Teva’s agreement to set May 27, 2014 as a new

proposed launch date, provide ample grounds for a reasonable juror to conclude that Teva was

well on its way to obtaining tentative approval as of early 2008, and that it has since slowed its

progress in response to the terms of its settlement with AstraZeneca.” 11




8
    See In re Nexium, 2014 WL 4370333 at *48.
9
 In re Nexium (Esomeprazole) Antitrust Litig., ___ F. Supp. 2d ___, 2014 WL 4370333 at *48 (D. Mass. Sept. 4,
2014).
10
   Id.; see also id. at *31 (recognizing that “Ranbaxy curtailed its activities in light of the entry date that it had
negotiated with AstraZeneca”).
11
     Id. at *50.

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           The inferences that Defendants seek to draw from the post-2014 facts are not supported

by evidence establishing each link in the “logical chain.” Their argument amounts to nothing

more than the naked assertion that Teva would “not have received faster approval had it started

trying on an earlier date,” an argument that the Court rejected at summary judgment.12 Without

evidence that the post -2014 facts are relevant to establishing what would have happened in the

absence of Teva’s delay, their admission would amount to nothing more than “layer[ing]

hypothetical scenario upon hypothetical scenario.”13

B.         Introducing argument or evidence about facts occurring on or after May 27, 2014 is
           unduly prejudicial.

           Permitting Defendants to refer, at trial, to facts favorable to them about what has

happened since May 27, 201414 after they refused to provide Plaintiffs with the discovery

necessary to test the Defendants’ assertions about what those facts mean is unduly prejudicial to

Plaintiffs.

           Ranbaxy and Teva refused to produce complete discovery about the status of their

ANDAs after May 27, 2014. And the Court denied Plaintiffs motion to compel such

information. Teva has selectively produced a small amount of self-serving documents, including

some post May 27, 2014 communications with the FDA, but Teva has not produced, for

example, Teva’s internal communications about to show whether issues raised by the FDA were

a difficult to resolve or could be easily addressed, whether Teva chose to address those issues as

quickly as possible or more slowly as a result of potential consequences in this litigation, etc.



12
     Id.
13
     In re Nexium, 2014 WL 4370333 at *35.
14
  One could argue that Defendants’ conduct beginning as early as when the first of these antitrust cases was filed in
August 2012 may well be tainted by a desire to mold the evidence. Plaintiffs do not go so far here as to ask that
argument or evidence from August 2012 through the present should be precluded.

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        Defendants did produce a report by a new expert that focuses on post-May 17, 2014 facts.

Mr. Johnston cites to facts about what has happened with the FDA’s review of Teva’s ANDA

since May 27, 2014 as reasons that Teva’s ANDA could not have been approved before May 27,

2014 in the absence of the Defendants’ anticompetitive conspiracy. It appears that Mr. Johnston,

like plaintiffs, has been deprived of any information about how Teva reacted internally to what

was going on with the FDA’s review of its ANDA.

        Defendants’ one-sided presentation of facts untested by discovery is unfair and threatens

the integrity of the trial process. To avoid such prejudice, the district courts have not hesitated to

exclude facts identified after the discovery deadline.15

                                          III.     CONCLUSION

        Call it a cat-and-mouse game or sword-and-shield maneuver; it is apparent that

defendants may well attempt at trial to backdoor post-May 27, 2014 evidence which has been

hidden from plaintiffs to support a foundationless argument that what has actually happened

since May 27, 2014 is predictive of what would have happened in the absence of the Defendants’

earlier anticompetitive conduct. Plaintiffs spent many months taking discovery of the status of

the ANDAs for generic Nexium and preparing to meet Defendants’ arguments. This last minute

trial by ambush should not be permitted, especially when Defendants refused to supplement the

regulatory record when asked by Plaintiffs.

        For the foregoing reasons, Defendants should be precluded from introducing argument or

evidence about post-May 27, 2014 facts.



Dated: October 17, 2014

15
  Am. Stock Exch. v. Mopex, Inc., 215 F.R.D. 87, 94-95 (S.D.N.Y. 2002) (precluding additional factual claims made
after the close of discovery).

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                                  CERTIFICATE OF SERVICE

       I, Thomas M. Sobol, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.


Dated: October 17, 2014

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